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   PLEASE DELIVER ATTACHED COURT CORRESPONDENCE
   TO ADDRESSEE AND HAVE FOLLOWING RECEIPT
   EXECUTED. PLEASE RETURN EXECUTED RECEIPT TO
   THE COURT. IF ADDRESSEE IS NO LONGER AT YOUR
   INSTITUTION, PLEASE ADVISE US OF RELEASE DATE &
   FORWARDING ADDRESS AND/OR NAME AND ADDRESS
   OF PAROLE OFFICER. THANK YOU! - U.S. DISTRICT CLERK.



   RECEIVED:                   ng E
   on this       2        day of , 20 , at a.m./p.m.
   at
    (Name of Institution)


       less (if by mark)      (Signati/re, or1          Idressee)


   Witness (if by mark)
                                  MAY - 9 2023

   WE CERTIFY THAT THE ADDRESSEE (REFUSED) OR (WAS
   UNABLE) TO SIGN THE ABOVE RECEIPT. BUT THAT THE
   COURT CORRESPONDENCE WAS DELIVERED TO THE
   ADDRESSEE AT A.M./P.M. ON THIS DAY
   OF                ,     20            ,       AT               .
                                          (Name of Institution)


   Signature of Institution Delivering Agent


   Witness
